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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. 2:21-cv-02504 Date September 10, 2021

 

James Huntsman v. Corporation of the President of the Church of Jesus Christ of Latter-

Title
Day Saints

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

J. Remigio N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: ORDER GRANTING [32] MOTION FOR SUMMARY JUDGMENT.

Before the Court is a motion for summary judgment filed by the Corporation of the President of
the Church of Jesus Christ of Latter-Day Saints (“Defendant”). Dkt.32. Plaintiff James Huntsman
opposes the motion. Dkt.36. For the below reasons, Defendant’s motion is GRANTED.

L. Factual and Procedural Background.!

Defendant is the legal entity behind the Church of Jesus Christ of Latter-day Saints, a Christian
religion with its worldwide headquarters in Salt Lake City, Utah. Members of Defendant’s church pay
tithing—i.e., a tenth of their annual increase or income—to Defendant.

Plaintiff was born into a family of devout members of Defendant’s church. Plaintiff spent most
of his childhood in Utah, and his father and maternal grandfather were in leadership positions at
Defendant’s church. As a child, Plaintiff learned about tithing from his parents and from Church
meetings that he attended. Plaintiff paid tithing for twenty-two years of his adult life, from 1993 to
2015.

 

! The facts in this section are largely undisputed and sourced from Plaintiffs complaint and the parties’ briefs and supporting
materials. However, the section is provided for background purposes only. Nothing in this section should be construed as
a factual finding.

 

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In 1991, the President of Defendant’s church, Gordon B. Hinckley, explained that Defendant
would set aside a portion of the tithing funds paid to the Church as a rainy day fund: “In the financial
operations of the Church, we have observed two fixed principles: One, the Church will live within its
means. It will not spend more than it receives. Two, a fixed percentage of income will be set aside to
build reserves against what might be called a possible ‘rainy day.””

Hinckley reiterated this principle in 1995: “Not only are we determined to live within the means
of the Church, but each year we put into the reserves of the Church a portion of our annual budget. . . .
Should there come a time of economic distress, we would hope to have the means to weather the storm.”

In 1997, Defendant incorporated Ensign Peak Advisors, Inc. (“EPA”) to be the Defendant’s
prunary investment vehicle for the Defendant’s reserve tithing funds. The reserve tithing funds would
be invested in stocks, bonds, and securities. Defendant provided EPA with an initial grant of
a of reserve tithing funds in late 1997. By 2003, EPA’s net assets had grown to over
In 2003 alone, the investments of the reserve tithing funds generated more than J in earnings.

The instant dispute stems from the earnings on those investments. In 2003, Defendant began
the process of purchasing and redeveloping a shopping mall and other commercial buildings in
downtown Salt Lake City. The entire project is referred to hereinafter as the City Creek project.
Defendant’s representatives made five statements regarding the use of tithing funds for the City Creek
project:

(1) During the church’s April 2003 General Conference (a semi-annual event consisting of
worship services and messages from church leaders broadcast to members worldwide),
Hinckley announced the City Creek project and stated as follows: “We have felt it imperative
to do something to revitalize this area. But I wish to give the entire Church the assurance
that tithing funds have not and will not be used to acquire this property. Nor will they be
used in developing it for commercial purposes. Funds for this have come and will come
from those commercial entities owned by the Church. These resources, together with the
earnings of invested reserve funds, will accommodate this program.”

 

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(2) The second statement about the funding of City Creek was made by Presiding Bishop H.
David Burton at an October 8, 2003 press conference, as reported in the Ensign magazine:
“None of this money comes from the tithing of our faithful members. That is not how we use
tithing funds.”

(3) The third statement appeared in the Ensign magazine, but the statement is not attributed to
any particular person: “The Church first announced three years ago it was planning to
redevelop the downtown area to energize the economy of the city that houses its headquarters
and to bolster the area near Temple Square. No tithing funds will be used in the
redevelopment.”

(4) The fourth statement appeared in the Deseret News newspaper on March 27, 2007, but the
statement is not attributed to any particular person: “Money for the project is not coming
from LDS Church members’ tithing donations. City Creek Center is being developed by
Property Reserve, Inc., the Church’s real-estate development arm, and its money comes from
other real-estate ventures.”

(5) The fifth statement appeared in the Salt Lake Tribune newspaper on October 5, 2012, and is
attributed to Keith B. McMullin, the head of a Church-affiliated commercial entity known as
Deseret Management Corporation: “McMullin said not one penny of tithing goes to the
Church’s for-profit endeavors. Specifically, the Church has said no tithing went towards City
Creek Center.”

Plaintiff alleges that these statements were false and that he relied on these statements in continuing to
pay tithing to Defendant.2 On March 22, 2021, Plaintiff filed a complaint alleging fraud on the basis of
the above statements. Defendant filed an answer on May 5, 2021. Defendant filed the instant motion
for summary judgment on August 9, 2021.

 

? Plaintiff also alleges that Defendant committed fraud by transferring tithing funds to Beneficial Life Insurance Company
(“Beneficial”). However, as discussed below, Plaintiff identifies no specific misrepresentations by Defendant related to the
transfer of tithing funds to Beneficial. See infra at 11-12.

 

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Il. Applicable Law.
A. Summary Judgment Standard.

Summary judgment should be granted where “the movant shows that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). The moving party “bears the initial responsibility of informing the district court of the basis for
its motion, and identifying those portions of . . . [the factual record that] demonstrate the absence of a
genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving
party satisfies its initial burden, the non-moving party must demonstrate with admissible evidence that
genuine issues of material fact exist. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
586 (1986) (“When the moving party has carried its burden under Rule 56 . . . its opponent must do
more than simply show that there is some metaphysical doubt as to the material facts.”).

A material fact for purposes of summary judgment is one that “might affect the outcome of the
suit” under applicable law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine
issue of material fact exists where “the evidence is such that a reasonable jury could return a verdict for
the nonmoving party.” Jd. Although a court must draw all inferences in the non-movant’s favor, id.
at 255, when the non-moving party’s version of the facts is “blatantly contradicted by the record, so that
no reasonable jury could believe it, [the] court should not adopt that version of the facts for purposes of
ruling on a motion for summary judgment,” Scott v. Harris, 550 U.S. 372, 380 (2007). Moreover,
“(t]he mere existence of a scintilla of evidence in support of the plaintiffs position will be insufficient;
there must be evidence on which the jury could reasonably find for the plaintiff.” Anderson, 477 U.S.
at 252.

B. Plaintiff’s Claim.

Plaintiff brings a single claim for fraud. Compl. §§31-42. The elements of fraud are (a) a
misrepresentation by the defendant (i.e., a false representation, concealment, or nondisclosure); (b) the
defendant’s knowledge of falsity; (c) the defendant’s intent to defraud, i.e., to induce reliance; (d)
justifiable reliance by the plaintiff; and (e) resulting damage. Small v. Fritz Companies, Inc., 30 Cal.
4th 167, 173 (Cal. 2003).

 

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Il. Analysis.

Defendant moves for summary judgment on three grounds: (1) the First Amendment bars
Plaintiffs claim; (2) no reasonable juror could find that Plaintiff justifiably relied on any alleged
misrepresentation; and (3) no reasonable juror could find a misrepresentation. The Court will address
each ground.

A. The First Amendment Does Not Bar Plaintiff’s Claims.

“Tn keeping with the First Amendment proscription against the establishment of religion or
prohibiting the free exercise thereof, civil courts have long taken care not to intermeddle in internal
ecclesiastical disputes.” Bell v. Presbyterian Church (U.S.A.), 126 F.3d 328, 330 (4th Cir. 1997)
(quotations omitted). This doctrine is known as the “church autonomy doctrine,” which “protects the
fundamental right of churches to decide for themselves matters of church government, faith, and
doctrine.” Bryce v. Episcopal Church in the Diocese of Colorado, 289 F.3d 648, 656 (10th Cir. 2002).

“The church autonomy doctrine is not without limits, however, and does not apply to purely
secular decisions, even when made by churches. Before the church autonomy doctrine is implicated, a
threshold inquiry is whether the alleged misconduct is ‘rooted in religious belief.’” Jd. at 657 (quoting
Wisconsin v. Yoder, 406 U.S. 205, 215 (1972). Specifically, the question before the Court is “whether
the dispute between [Plaintiff] and [Defendant] is an ecclesiastical one about ‘discipline, faith, internal
organization, or ecclesiastical rule, custom or law,’ or whether it is a case in which [the Court] should
hold religious organizations liable in civil courts for ‘purely secular disputes between third parties and a
particular defendant, albeit a religiously affiliated organization.’” Be//, 126 F.3d at 331.

The Court concludes that the instant case presents a purely secular dispute. To resolve the
dispute, no analysis of church policy or doctrines is necessary. Nor must a court or jury determine
whether those policies or doctrines allow Defendant to spend tithing funds on the City Creek project.
Rather, Defendant has already stated it would nor spend tithing funds on the City Creek project. The
only question is whether that assertion was true or not. That question can be resolved on the basis of
accounting records and witness testimony, the scope of which need not include the meaning of “tithing
funds” or the purposes towards which religious doctrine allows Defendant to spend tithing funds.

 

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Indeed, the cases Defendant relies on reveal why the instant case is distinct. For example, in
Ambellu v. Re’ese Adbarat Debre Selam Kidist Mariam, resolving the plaintiff's claims would have
“risk[ed] entanglement in a fundamentally religious endeavor—defining and applying the requirements
of church membership.” 387 F. Supp. 3d 71, 80 (D.D.C. 2019). Similarly, in Wolter v. Delgatto, the
plaintiff's claims were not based on a specific representation about how a particular project would be
funded. See 2006 WL 664214, at *2 (Tex. App. Mar. 16, 2006). Rather, the issue was whether the
church’s decision to fund a particular project was consistent with a constitution that governed the
church. Seeid. Resolving that issue would have required a court or jury to “parse the Presbyterian
Book of Order into secular and ecclesiastical components [and delve] into a religious controversy.” Jd.
As noted above, no such analysis is required to resolve Plaintiff's claims here.

Accordingly, the First Amendment does not bar Plaintiff's clams. See Gaddy v. Corp. of
President of Church of Jesus Christ of Latter-Day Saints, 2021 WL 3194983, at *14 (D. Utah July 28,
2021) (finding no First Amendment bar to claim regarding use of tithing funds for City Creek project
because “[t]he inquiry required to adjudicate this claim does not implicate religious principles of the
Church or the truth of the Church’s beliefs concerning the doctrine of tithing. This claim further does
not require the court to determine whether the Church or its members were acting in accord with what
they perceived to be the commandments of their faith.”’).

B. No Reasonable Juror Could Find that Defendant Made a Misrepresentation.
1. The City Creek Project

Plaintiff argues that a genuine issue of material fact exists on the issue of whether Defendant
made a material misrepresentation. Specifically, Plaintiff argues that the evidence is in dispute about
whether Defendant used tithing funds to pay for the City Creek project.

The Court concludes that no reasonable juror could find Defendant made a misrepresentation.
To begin, Plaintiff does not properly consider the full statement made by Hinckley. Specifically,
Hinckley did not just state that tithing funds would not be used. Rather, he also explained that earnings
from invested reserve tithing funds would be used:

 

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We have felt it imperative to do something to revitalize this area. But I wish to give the entire
Church the assurance that tithing funds have not and will not be used to acquire this property.

Nor will they be used in developing it for commercial purposes. Funds for this have come and
will come from those commercial entities owned by the Church. These resources, together with
the earnings of invested reserve funds, will accommodate this program.

Rytting Decl., Ex. 4 (emphasis added). As discussed above, the earnings of invested reserve funds
were the earnings of invested tithing funds. See supra at2. Indeed, the above statement was made
after Hinckley had explained, during General Conferences in 1991 and 1995, that Defendant would set
aside tithing funds as a “reserve” for arainy day. See Rytting Decl. §§ 6—7, Exs. 1,2. And Plaintiff
testified that he read the publications containing Hinckley’s addresses at the General Conferences. See
Richmond Decl. § 2, Ex. A at 30:7-16; 78:7-12; 122:12-17.

Accordingly, the question for this Court is as follows: could a reasonable juror conclude that
Hinckley made a false statement when he said that tithing funds would not be used on the City Creek
project but earnings of invested tithing funds wou/d be used?

A reasonable juror could not reach that conclusion. A financial statement for EPA shows that,
in 1997, EPA was granted in reserve tithing funds. Rytting Decl., Ex.3. By 2003,
EPA’s assets had grown to Id., Ex. 5. In 2003 alone, EPA’s earnings on invested
reserve tithing funds amounted to Id.

 
 
 
 
 

On January 1, 2004, EPA withdrew [I from the “EP-ALL” fund (i.e., the fund holding
Defendant’s reserve tithing funds and the earnings of the invested reserve tithing funds). See id. §§ 13—
14, Ex. 6. The poo was allocated to the “EP-SDR” fund (i.e., a fund for the City Creek project)
and was sourced from earnings on Defendant’s invested reserve tithing funds. Jd. This is confirmed
by the fact, in 2003 alone, EPA’s earnings on invested reserve tithing funds amounted to

Id.

The fF in the EP-SDR fund was itself invested and generated earnings, and the assets in
that fund were used between 2007 and 2012 on the City Creek project. Jd. §§ 15—23, Exs. 7,8. EPA

also allocated PF and [ to the City Creek project in 2007 and 2009, respectively.

 

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Id. § 24, Exs. 9,10. Those grants came from earnings on Defendant’s invested reserve tithing funds.
Id.

Based on the foregoing, no reasonable juror could conclude that Hinckley’s statement was false.
This is because a reasonable juror could only conclude that Defendant used “the earnings of invested
reserve funds” to fund the City Creek project—i.e., Defendant did exactly what Hinckley said Defendant
would do.

Plaintiff argues that the Neilsen declaration creates a genuine issue of material fact. Neilsen
was a Senior Portfolio Manager at EPA from 2010 to 2019. See Neilsen Decl. § 2. Neilsen states that
“EPA’s senior leadership and other EPA employees referred to and revered all funds of EPA as ‘tithing’
money, regardless of whether they were referring to principal or earnings on that principal.” Jd. { 6.
Neilsen asserts that EPA directed approximately $1.4 billion in tithing funds to pay for the commercial
development of the City Creek Mall. Jd. § 8.

There are two reasons that Neilsen’s testimony, accepted as true, does not create a genuine issue
of material fact. Furst, Neilsen conflates tithing funds with earnings on invested tithing funds.
Specifically, he states that “EPA’s senior leadership and other EPA employees referred to and revered
all funds of EPA as ‘tithing’ money, regardless of whether they were referring to principal or earnings
on that principal.” Jd.4/6. It is on the basis of this statement that he then asserts that EPA directed
approximately $1.4 billion in tithing funds to pay for the commercial development of the City Creek
Mall. Jd. 48.

However, Hinckley expressly stated that earnings on invested tithings wou/d be used to pay for
the City Creek project—both the acquisition of property and the development of that property. See
Rytting Decl., Ex. 4 (“Funds for this have come and will come from those commercial entities owned by
the Church. These resources, together with the earnings of invested reserve funds, will accommodate
this program.”) (emphasis added). And, as discussed above, that is exactly what happened.
Accordingly, regardless of the nomenclature used by EPA employees, the distinction in Hinckley’s
statement renders his statement true.

 

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Second, Neilsen was not employed by EPA when the funds that were used to develop the City
Creek project were allocated for that purpose. _As discussed above, EPA allocated poo towards
the City Creek project on January 1, 2004, and | and PF to the City Creek project
in 2007 and 2009, respectively. See supra at 7-8. However, Neilsen did not begin working at EPA
until 2010. See Neilsen Decl. §2. Accordingly, at the time EPA allocated funds for the City Creek
project, Neilsen was not working at EPA.

Other than the Neilsen declaration, Plaintiff offers no evidence that creates a genuine issue of
material fact. Plaintiff does not argue that earnings on invested tithing funds were not actually used
(i.e., that the principal (the tithing funds) was used instead of the earnings). For example, Plaintiff does
not identify any specific flaws in the accounting or calculations provided by Defendant’s declarant.*
Instead, Plaintiff simply argues that there is no distinction between tithing funds and earnings on

 

3 Instead of challenging Rytting’s calculations or analysis, Plaintiff argues that Rytting’s declaration and its underlying
documents are inadmissible. Specifically, Plaintiff, argues that Rytting lacks personal knowledge and that the documents
attached to his declaration lack authenticity.

This argument is unpersuasive. Since the 2010 amendments to Rule 56 of the Federal Rules of Civil Procedure, evidence
need not be admissible in the fo77m presented to a court on summary judgment. Rather, it is the content of the evidence that
must be admissible. See Fed. R. Civ. P. 56, Advisory Committee Notes on 2010 Amendment (explaining that evidence
must be “admissible as presented o7 [proponent must] explain the admissible form that is anticipated’) (emphasis added); see
also Romero v. Nev. Dep’t of Corr., 673 F. App’x 641, 644 (9th Cir. 2016) (“Rule 56 was amended in 2010 to eliminate the
unequivocal requirement that evidence submitted at summary judgment must be authenticated”); Dinkins v. Schinzel, 362 F.
Supp. 3d 916, 923 (D. Nev. 2019) (noting that Rule 56 since 2010 amendments “mandate[s] only that the substance of the
proffered evidence would be admissible at trial”).

The Court is persuaded that the contents of the Rytting declaration and its underlying documents would be admissible at trial.
Plaintiff argues that Rytting offers no facts to support his assertion that he is “familiar with Church policies and practices
relating to the management of funds and, in particular, with respect to the financing of the City Creek project.” Rytting
Decl.§ 1. To the contrary, Rytting explains he is a “Director within the Finance and Records Department of the Church,”
and has “worked in similar or related positions for over fifteen years.” Jd. Under these circumstances, the Court is
persuaded that the contents of the Rytting declaration and its underlying documents would be admissible at trial, and the
Court can consider those materials on summary judgment. See Dinkins, 362 F. Supp. 3d at 923. And, although the Court
makes that finding on the basis of the Rytting declaration alone, the declaration from Roger Clarke bolsters the Court’s
conclusion. Clarke was the President of EPA from its founding in 1997 until May 2020, and he attests that all of documents
attached to the Rytting declaration are true and correct copies of EPA records. See Clarke Decl. §§ 2-12.

 

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invested tithing funds. See Opp. at 9-11.

However, Hinckley’s statement is what creates a distinction between the two. Specifically,
Hinckley distinguished between tithing funds and the earnings on invested reserve tithing funds.*
Hinckley’s statement forms the basis for the fraud claim, and no reasonable juror could ignore the
distinction within his statement.

Finally, to the extent that Plaintiff argues a genuine issue of material fact exists because there is
no mention of earnings on invested tithing funds in the other four statements described above, see supra
at 3, the Court rejects that argument. None of the four statements are inconsistent with Hinckley’s
statement. Moreover, Plaintiff specifically states that he read Hinckley’s statement in mid-2003.
Richmond Decl. 4 2, Ex. A at 79:13-16. He also stated that he relied on that statement when he
donated tithing funds to Defendant. Huntsman Decl. §3. Hinckley’s statement was Defendant’s first
statement regarding the City Creek project.

In other words, when the later four statements were made, Plaintiff was aware of Hinckley’s
statement that earnings on invested reserve tithing funds wou/d be used to fund the City Creek project.
Under those circumstances, no reasonable juror could conclude that it was justifiable for Plaintiff to rely
on the other four statements as an assertion that Defendant would nof¢ use earnings on invested tithing
funds. Cf Gonzalez v. EJ Mortg., Inc., 2010 WL 1996609, at *2 (S.D. Cal. May 17, 2010) (“Plaintiff
cannot plead reasonable reliance on income figures written by Defendants because he knew or should
have known his actual income.”); Wireless Warehouse, Inc. v. Boost Mobile, LLC, 2011 WL 92984, at
*5 (C.D. Cal. Jan. 11, 2011), aff'd, 479 F. App’x 58 (9th Cir. 2012) (finding plaintiff could not establish

 

4 Plaintiff argues that tithing funds and earnings on invested tithing funds are “two sides of the same financial coin.” Opp.
at10. This argument is unavailing for two reasons. Furst, for the purposes of this case, tithing funds and earnings on
invested tithing funds are not two sides of the same coin because Hinckley expressly distinguished the two. Second,
because Plaintiff's argument effectively asks this Court to define the term “tithing funds,” the First Amendment bars
Plaintiff's argument. Specifically, determining whether the term “tithing funds” encompasses earnings on invested tithing
funds would require an analysis of Church doctrines and teachings. Such an inquiry would entangle this Court or a jury in
an interpretation of “ecclesiastical rule, custom or law.” Bel/, 126 F.3d at 331. The First Amendment bars such an inquiry.
See id.; see also Ambellu, 387 F. Supp. 3d at 80 (finding First Amendment barred claim risking “entanglement in a
fundamentally religious endeavor—defining and applying the requirements of church membership.”).

 

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reasonable reliance upon later oral promise where plaintiff was aware of conflicting written agreement).

Ultimately, this is not a case about whether Defendant used tithing funds in any manner, directly
or indirectly, to pay for the City Creek project. Rather, the question is more specific: did Hinckley
make a false statement when he said that tithing funds would not be used on the City Creek project, but
earnings from invested tithing funds woz/d be used on that project? As discussed above, no reasonable
juror could find that the statement was false.

Accordingly, there is no genuine issue of material fact as to whether Defendant misrepresented
the source of funding for the City Creek project, and Defendant is entitled to summary judgment.°

2. Beneficial Life Insurance.
Plaintiff also challenges Defendant’s alleged transfer of $600 million to Beneficial Life

Insurance Company. However, Plaintiff's fraud claim regarding this transfer fails for two independent
reasons.

 

> Defendant also argues that no reasonable juror could find that Plaintiff justifiably relied on any of the five statements.
The Court disagrees.

Plaintiff states that his “practice was to read the complete conference sessions — and especially any remarks by the president
of the Church — when they were printed in the Ensign Special Edition, approximately two months after each conference.”
Huntsman Decl. § 3: see also Richmond Decl. § 2, Ex. A, 79:7-12. Plaintiff attests that he “read and/or heard each of [the
alleged misrepresentations] shortly after they were published.” Huntsman Decl. 43. Plaintiff also stated that he had
specifically read Hinckley’s statement in mid-2003. Richmond Decl. § 2, Ex. A at 79:13-16. Finally, Plaintiff stated that
he relied on those statements when he donated tithing funds to Defendant. Huntsman Decl. § 3.

This evidence is sufficient to raise a genuine issue of material fact as to justifiable reliance. Defendant’s arguments to the
contrary—i.e., that Plaintiff's stated reliance is not credible because of his family background and service in church
leadership, and because Plaintiff made tithing contributions for a full decade before the first alleged misrepresentation
occurred, and continued making tithing contributions until 2015, see Mot. at 18—19—are credibility attacks that the Court
cannot resolve at this stage, see Anderson, 477 U.S. at 255 (“Credibility determinations . . . are jury functions, not those of a
judge, [when] he is ruling on a motion for summary judgment.”).

 

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Day Saints

 

First, Plaintiff does not identify a specific misrepresentation by Defendant. Indeed, Plaintiff
expressly states as follows in his declaration: “I do not recall any specific statement by the Church
denying that tithing funds were being used to bail out Beneficial Life Insurance... .” 94. Absent a
specific misrepresentation, Plaintiff's claim fails. See Stansfield v. Starkey, 220 Cal. App. 3d 59, 73-
74 (Cal. Ct. App. 1990) (affirming dismissal of fraud claim against church where plaintiffs failed to
allege “the how, when, where, to whom, and by what means the representations were tendered’’)
(quotations and citations omitted).

Second, to the extent Plaintiff relies on “Sunday school manuals” or “the Church’s teachings” to
support the claim regarding Beneficial, the First Amendment prohibits Plaintiff's clam. Resolving
Plaintiffs claim on those grounds would require a court or jury to determine whether church teachings
and doctrines prohibited the alleged transfer of tithing funds to Beneficial. In other words, unlike the
simple tracing of funds required to resolve the City Creek claim, the Beneficial claim would require a
court or jury to “intermeddle in internal ecclesiastical disputes.” Be//, 126 F.3d at 330. The First
Amendment prohibits such entanglement. See id.

Because Plaintiff cannot identify a statement regarding Beneficial, there is no genuine issue of
material fact as to whether Defendant misrepresented the source of funding for the Beneficial transfer.
Moreover, the claim as framed by Plaintiff is barred by the First Amendment. Accordingly, Defendant
is entitled to summary judgment.

IV. Conclusion.

For the foregoing reasons, Defendant’s motion for summary judgment is GRANTED.

IT IS SO ORDERED.

 

6 Plaintiff alleges that Defendant’s tithing form “indicate[s] unequivocally that my donations to [Defendant] would be used
solely for non-commercial purposes.” Huntsman Decl. § 4, Ex.B. The tithing form contains no such assertion. Indeed,
it makes no assertions at all about how tithing funds will be used, nor does it reference Beneficial Life Insurance company or
“non-commercial purposes.”

 

Initials of Preparer
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